    Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 1 of 9




                               Exhibit 41



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
          Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 2 of 9
RI Dept of Human Services (John Young)                               December 3, 2008
                                 Providence, RI

                                                                                Page 1
                 UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

     -----------------------------------X

     In Re: PHARMACEUTICAL INDUSTRY     )

     AVERAGE WHOLESALE PRICE LITIGATION )

     -----------------------------------X MDL No. 1456

     THIS DOCUMENT RELATES TO:          ) Master File No.

     United States of America ex rel.   ) 01-CV-12257-PBS

     Ven-A-Care of the Florida Keys,    )

     Inc., et al. v. Dey, Inc., et al., )

     Civil Action No. 05-11084-PBS,     ) Hon. Patti B.

     and United States of America ex    ) Saris

     rel. Ven-A-Care of the Florida     )

     Keys, Inc., et al. v. Boehringer   )

     Ingelheim Corp., et al., Civil     )

     Action No. 07-10248-PBS            )

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                 VIDEOTAPED DEPOSITION OF

       THE RHODE ISLAND DEPARTMENT OF HUMAN SERVICES

                      by JOHN YOUNG

                Providence, Rhode Island

               Wednesday, December 3, 2008




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          Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 3 of 9
RI Dept of Human Services (John Young)                               December 3, 2008
                                Providence, RI

                                                                                Page 2
  1
                               A P P E A R A N C E S
  2

  3
        On behalf of Boehringer Ingelheim Corp. and Roxane
  4
        Laboratories:
  5

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        On behalf of the United States of America:
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          Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 4 of 9
RI Dept of Human Services (John Young)                               December 3, 2008
                                Providence, RI

                                                                             Page 126
  1
        BY MS. RANKIN:
  2
               Q.      Okay.      So is it fair to say then that
  3
        there may have been some profit margin on the
  4
        ingredient cost side that was subsidizing the
  5
        dispensing fee, the inadequacy of the dispensing
  6
        fee?
  7
                       MS. BAUM:         Objection.
  8
                       MS. SMITH:         Objection.
  9
                       THE WITNESS:          I really can't conjecture
 10
        what a provider's logic for participation would
 11
        be.    I think that there are many factors
 12
        including the total price paid, the attraction in
 13
        the case of retail pharmacists for collateral
 14
        business that extended beyond the prescription.
 15
        BY MS. RANKIN:
 16
               Q.      When you say totality, that the
 17
        totality of the reimbursement must have been
 18
        adequate, we've acknowledged that there's two
 19
        components to the reimbursement, right, the
 20
        ingredient cost, and the dispensing fee, right?
 21
               A.      Correct.
 22
               Q.      And you've said that you had the

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          Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 5 of 9
RI Dept of Human Services (John Young)                               December 3, 2008
                                Providence, RI

                                                                             Page 236
  1
               Q.      And did that happen at any time during
  2
        your tenure as a result to a change in the
  3
        reimbursement methodology?
  4
               A.      Not to my knowledge, no.
  5
               Q.      And did that happen during your tenure
  6
        as far as, you know, in response to provider
  7
        complaints that the dispensing fee was too low?
  8
                       MS. RANKIN:          Objection to the form.
  9
                       THE WITNESS:          It did not.
 10
        BY MS. SMITH:
 11
               Q.      And I believe you said that your
 12
        primary concern in discussion of various
 13
        proposals in connection with the Medicaid
 14
        Modernization Act and proposals for changing
 15
        reimbursement between generics versus brand, I
 16
        believe you said you wanted transparency.                            Did I
 17
        get that down correctly?
 18
               A.      That's correct.
 19
               Q.      What did you mean by transparency?
 20
               A.      Speaking for myself and perhaps
 21
        speaking for my colleagues in other states, I
 22
        think we were all looking for an independently

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          Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 6 of 9
RI Dept of Human Services (John Young)                               December 3, 2008
                                Providence, RI

                                                                             Page 237
  1
        verifiable file of data that described
  2
        appropriate pharmaceutical pricing to end the
  3
        guesswork around varying pricing strategies or
  4
        adopted by different states at different times
  5
        such that if CMS wanted to adopt a price schedule
  6
        for legend and branded drugs that it felt were
  7
        appropriate given that their resources are
  8
        substantially greater than any of the states
  9
        individually, that that simply would be the most
 10
        straightforward way of adjudicating claims.
 11
               Q.      And what was your understanding about
 12
        how transparent the current system was, is.                               I'll
 13
        start over.
 14
                       What was your understanding of how
 15
        transparent the system was based on the price
 16
        reporting to the three pricing compendia and
 17
        states in turn using those as a basis for
 18
        reimbursement?
 19
                       MS. RANKIN:          Objection to the form.
 20
        Foundation.
 21
                       THE WITNESS:          My impression of at least
 22
        the two that I'm most familiar with, that being

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          Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 7 of 9
RI Dept of Human Services (John Young)                               December 3, 2008
                                Providence, RI

                                                                             Page 238
  1
        AWP and WAC, as supported, provided to us by the
  2
        source we subscribe to, was that it was subject
  3
        to certainly some level of variability from
  4
        publishing to publishing; that there would be
  5
        differences in interpretation of what a value
  6
        meant manufacturer to manufacturer; and that, as
  7
        I have testified earlier, that it was never clear
  8
        to me that it adequately described the impact of
  9
        trade discounts and other trade or procurement
 10
        considerations that may have been offered to
 11
        different parties at different times.                       But it was
 12
        the best available source we had.
 13
        BY MS. SMITH:
 14
               Q.      When you were Medicaid Director, did
 15
        you ever have conversations with any
 16
        representatives of Abbott, Dey, or Roxane or
 17
        Boehringer in which they informed you that their
 18
        reported prices were inflated?
 19
                       MS. RANKIN:          Objection, leading; and
 20
        asked and answered.
 21
                       MS. SMITH:         It is an open ended.                 Did
 22
        you ever have conversations?

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          Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 8 of 9
RI Dept of Human Services (John Young)                               December 3, 2008
                                Providence, RI

                                                                             Page 239
  1
                       MS. RANKIN:          That's been asked and
  2
        answered.        He said he never spoke with any of the
  3
        representatives of the defendants before.
  4
                       MS. SMITH:         I'm asking for very
  5
        specific conversation, Counsel.
  6
        BY MS. SMITH:
  7
               Q.      Did you ever have a conversation with a
  8
        representative from any of the defendant
  9
        companies in which they reported to you that
 10
        their reported prices were inflated?
 11
               A.      No.
 12
               Q.      Did you ever inform in a conversation
 13
        or otherwise any of the defendant companies that
 14
        you were aware of their reporting of inflated
 15
        prices to the compendia?
 16
                       MS. RANKIN:          Objection to the form.
 17
                       THE WITNESS:          No.
 18
        BY MS. SMITH:
 19
               Q.      Has there ever been a policy
 20
        articulated by your agency to allow manufacturers
 21
        to set the estimated acquisition cost
 22
        reimbursement at something that would suit their

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          Case 1:01-cv-12257-PBS Document 6528-42 Filed 09/22/09 Page 9 of 9
RI Dept of Human Services (John Young)                               December 3, 2008
                                Providence, RI

                                                                             Page 240
  1
        marketing strategies?
  2
                       MS. RANKIN:          Objection to the form,
  3
        leading.
  4
                       THE WITNESS:          I don't believe so.
  5
        BY MS. SMITH:
  6
               Q.      To your knowledge, did Rhode Island
  7
        have a practice of intending to make up for
  8
        inadequate dispensing fees by paying inflated
  9
        ingredient reimbursement?
 10
                       MS. RANKIN:          Objection to the form,
 11
        leading.
 12
                       THE WITNESS:          No, we did not.
 13
        BY MS. SMITH:
 14
               Q.      Did any of the defendant pharmaceutical
 15
        manufacturers ever inform you that they believed
 16
        Rhode Island's dispensing fee was too low?
 17
               A.      Not to the best of my recollection, no.
 18
               Q.      Or that they were reporting higher
 19
        prices so that the state would pay more in
 20
        reimbursement to balance out too low dispensing
 21
        fee?
 22
                       MS. RANKIN:          Objection to the form.

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